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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

DEENA L. HORNER, Individually and as
ADMINISTRATRIX OF THE ESTATE OF MICHAEL                 Civ. No.: 14-cv-639
A. HORNER, Deceased,
                                                        Judge John E.
                       Plaintiff,                       Jones, III

v.
                                                        Document
JOSEPH D. CUMMINGS, COLLINS TRUCKING,                   Electronically Filed
INC., BRAD L. COLLINS, DAIMLER TRUCKS OF
NORTH AMERICA, LLC and FREIGHTLINER, LCC,

                       Defendants.


                  WRITTEN STATEMENT OF APPEAL

     Pursuant to Fed. R. Civ. P. 72(a), 28 U.S.C. § 636(b)(1)(A),and Local

Rule 72.2, Defendant Daimler Trucks North America LLC (improperly sued

as “Daimler Trucks of North America, LLC” and “Freightliner, LLC”)

(hereinafter “DTNA”) hereby objects to Magistrate Judge Joseph F.

Saporito, Jr.’s July 29, 2015 Order.     Specifically, DTNA objects to the

following portions of Judge Saporito’s Order:


     1.    DTNA objects to paragraph 1A of the July 29, 2015 Order

directing DTNA to produce “discovery concerning (i) commercial tractor-

trailer truck models beyond the subject truck, the 2007 Freightliner CL-120


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Class 8 tractor, (ii) tractor-trailer trucks designed and manufactured for

United States military use, and (iii) the Freightliner ‘Revolution’ concept

truck.” Dkt. 99, ¶ 1A. The bases for DTNA’s objection are as follows:


     As set forth more thoroughly in DTNA’s Brief in Support of Its
     Objections to Magistrate Judge Joseph F. Saporito, Jr.’s July
     29, 2015 Order (hereinafter “DTNA Brief”), Plaintiff cannot
     obtain discovery concerning other tractor models unless she
     can demonstrate that the other models are (1) substantially
     similar to the subject model; (2) reasonable substitutes for the
     subject model; and (3) potentially safer than the subject model.
     Plaintiff failed to satisfy any of these requirements and,
     therefore, is not entitled to discovery concerning other tractor
     models. Accordingly the Order compelling such discovery is
     clearly erroneous and contrary to law See DTNA Brief, Point I.


     2.    DTNA objects to paragraph 1C of the July 29, 2015 Order

directing DTNA to produce “discovery of post-crash accident investigation

relating to fuel-fed fires not only for DTNA’s Class 8 tractor trailers with

side-saddle fuel tanks, but also for those vehicle types identified in

paragraph 1A of this order from 1985 through 2007.” Dkt. 99, ¶ 1C. The

bases for DTNA’s objection are as follows:


     Plaintiff is not entitle to discovery relating to other accidents
     involving other vehicle designs because she has not met her
     burden to demonstrate (1) that the other vehicle designs are
     substantially similar to the subject vehicle and (2) that the
     circumstances surrounding the other accidents are substantially
     similar to the accident at issue here. Moreover, Plaintiff’s
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     expert’s testimony concerning studies and statistics relating to
     tractor accidents, upon which the Magistrate Judge relied
     heavily, is irrelevant to the issue of whether Plaintiff is entitled
     to discovery concerning other accidents. Finally, the Order
     compelling discovery of 22 years of post-crash accident
     investigation ignores well-settled case law and is unduly
     burdensome. Consequently, this aspect of the Order is clearly
     erroneous and contrary to law, and should be overturned. See
     DTNA Brief, Point II.



     3.    DTNA objects to paragraph 1D of the July 29, 2015 Order

directing DTNA to produce “discovery for cost information per vehicle of the

side-saddle fuel tanks and the mounting devices/hardware not only for

DTNA’s Class 8 commercial tractor trailers with side-saddle fuel tanks, but

also for those vehicle types identified in paragraph 1A of this order.” Dkt.

99, ¶ 1D. The basis for DTNA’s objection to this Order is as follows:


     The aspect of the Order compelling discovery of cost-
     information is clearly erroneous for three reasons. First,
     Plaintiff did not even request much of this information in her
     discovery demands.          Second, Plaintiff is not entitled to
     discovery concerning dissimilar tractor models. Third, none of
     this information is relevant because it will not provide insight as
     to the cost of added components, which is what is required to
     perform a “risk utility calculus.” See DTNA Brief, Point III.




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     For these reasons, DTNA respectfully requests that the Court

overturn Parts 1A, 1C and 1D of Magistrate Judge Joseph Saporito Jr.’s

July 29, 2015 Order.




                                   Respectfully submitted,


DATED:     August 26, 2015         WEBSTER SZANYI LLP
                                   Attorneys for Defendant
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                                   (formerly known as Freightliner LLC)


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